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                   Exhibit 4
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From:                   Steven Popofsky
To:                     Aaron Etra
Cc:                     Joshua K. Bromberg; Pamela Frederick
Subject:                FW: Benthos v. Etra
Date:                   Thursday, September 03, 2020 10:31:50 AM



With regard to potential settlement, let me repeat what I told you previously: A
“concrete, realistic and potentially effective settlement proposal” would consist of (i) a
(seven-figure) dollar amount you are offering to pay, and (ii) a date on which you are
offering to pay it. In the absence of such an offer we have nothing to discuss.

With regard to judgment enforcement discovery, if you timely provide substantial
responsive documents and information and need a reasonable bit of additional time to
complete your responses, we would respond reasonably. (In any event, your deposition
will take place as scheduled.) Requesting a blanket extension that would allow you to
produce nothing for more than five additional weeks (more than two months in all),
based on holidays which do not begin until more than three weeks after you were
served, is further confirmation – together with your vague comment “to pursue
settlement” – that, as mentioned in my August 28th e-mail, you are not taking this
situation seriously.

You should be getting your financial records (and other material) together, and
preparing responses to the information subpoena. You have a liability of more than $5
million to Benthos – which spent a lot of money, time and effort obtaining its judgment –
and the days when your stalling tactics could buy you time are long over.

As a reminder, if you are not complying with the restraining order, you will be subject to
punishment for contempt of court.

 STEVEN R. POpOFsKY
 D 212.880.9882     |   spopofsky@kkwc.com
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From: Aaron Etra [mailto:aaron@etra.com]
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Sent: Wednesday, September 02, 2020 4:47 PM
To: Steven Popofsky
Cc: Joshua K. Bromberg; Pamela Frederick
Subject: FW: Benthos v. Etra

Mr. Popofsky,

I have not received a response to my August 28th email below where I conveyed my positive
response to your August 28th offer of a stay of judgment execution to pursue settlement, an effort
in which I am willing to be fully engaged.

In light of the forthcoming Jewish holidays, let me also request the extension of discovery until Oct
31st.

Thank you,

Aaron Etra




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